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U'NITED STATES DISTRICT COURT § NOV 052018

    

 

WESTERN DISTRICT OF NEW YORK @,®@ ;§§r l
63 5 L\)hv/LNo\»\Y\ O(,$
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UNITED sTATEs oF AMERICA,
Plaintiff,
0RDER
v. 17-cR-6016

17-cR-6017

RICHARD LEON WILBERN,
Defendant.

 

The defendant in the above captioned cases has filed pretrial
motions, including motions for the disclosure of material

favorable to the defense pursuant to Brady v. Maryland, 373 U.S.

 

83 (1963) and its progeny. The government has disclosed that
evidence critical to its case is DNA material allegedly connecting
the defendant to the crimes charged" The government further
disclosed that DNA material at issue in this case was delivered by
the government to and tested by the Office of the Chief Medical
Examiner of the City of New York (“OCME”). Part of the defendant’S
§£§§y request is disclosure of “all non-conforming events” at OCME

from 2011 through 2017 involving OCME employees who performed any

 

work on or testing of DNA that the government claims connects the

 

defendant to the crimes charged.

 

Based upon the Court’s review of the motion papers filed by
the defense and the government’s response, as well as the

Statements made by government counsel at the motion hearing

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regarding the current custody of any “non-conforming events” data
or materials, it is hereby

ORDERED that the defense request is granted insofar as the
government shall obtain from OCME the requested “non-conforming
event” data. Thereafter, the government shall make arrangements
to disclose the data and materials to defense counsel. Should
OCME refuse to produce to the government the data subject to his

Order, government counsel shall notify the Court immediately for

QWWMQ

JONATHAN W. FELDMAN
U ited States Magistrate Judge

further action by this Court.

 

Dated: November 5, 2018
Rochester, New York

